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                      UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                        )
LINCOLN-SUDBURY REGIONAL                )
SCHOOL DISTRICT,                        )      Civil Action
                                        )      No. 1:16-CV-10724-FDS
                           Plaintiff,   )
v.                                      )
                                        )
MR. AND MRS. W.,                        )
                                        )
                           Defendants )
WALLIS and                              )
MR. and MRS. W.,                        )
                                        )
            Plaintiffs-in-Counterclaim )
v.                                      )
                                        )
LINCOLN-SUDBURY REGIONAL                )
SCHOOL DISTRICT and                     )
                                        )
BUREAU OF SPECIAL EDUCATION             )
APPEALS,                                )
            Defendants-in-Counterclaim. )
____________________________________)

 AFFIDAVIT OF COUNSEL FOR LINCOLN-SUDBURY REGIONAL SCHOOL
  DISTRICT IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
                    FOR ATTORNEYS’ FEES

      I, Felicia Vasudevan, being first duly sworn, state of my own personal

knowledge:

   1. I graduated from Harvard Law School in 2013. After graduating law school, I

      clerked for Justice Bassett at the New Hampshire Supreme Court from August

      2013 until August 2014. I was admitted to practice in Massachusetts and New

      Hampshire in November 2013. I have been actively engaged in the practice of

      law since September 2014 when I started working at Murphy, Hesse, Toomey &
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   Lehane (“MHTL”). I was admitted to practice in the District Court of

   Massachusetts and the District Court of New Hampshire in 2016.

2. Since actively engaging in the practice of law in 2014, I have practiced in the area

   of special education law, representing schools and/or school districts in court and

   at the Bureau of Special Education Appeals (“BSEA”), and have successfully

   litigated special education cases before the BSEA, and in the United States

   District Court.

3. I have assisted Attorney Ehrens in this matter before taking over for her in

   February 2018 as Attorney Ehrens needed to take a leave of absence for health

   reasons. Before the hearing request was filed to initiate the BSEA proceeding and

   continuing for a time thereafter, MHTL was involved in assisting Lincoln-

   Sudbury Regional School District (“Lincoln-Sudbury”) with Mr. and Mrs. W’s

   public records, open meeting law, and student records requests. Attorney John

   Morrissey represented Mr. and Mrs. W at that time. MHTL’s special education

   department head, Attorney Mary Ellen Sowyrda, along with Attorney Tami Fay,

   assisted Lincoln-Sudbury in addressing Mr. and Mrs. W’s request for student

   records beginning in or about August, 2013. Attorneys’ fees and costs related to

   those matters is not included in the amount of attorneys’ fees and costs Lincoln-

   Sudbury seeks to recover through this motion.

4. Attached hereto as Exhibit A and incorporated herein by reference, is a true and

   correct copy of a document that I prepared to summarize the attorneys’ fees

   incurred by Lincoln-Sudbury for this matter since May 1, 2017 until March 25,

   2018 and costs from April 1, 2017 to February 28, 2018. This summary, in




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   addition to the summary that Attorney Ehrens created for the time period from

   September 26, 2014 until April 30, 2017, in Exhibit A of her affidavit from June

   2017, located in Exhibit 2, is the total amount of attorneys’ fees that Lincoln-

   Sudbury has incurred since the inception of this litigation until March 25, 2018.

5. Attached hereto as Exhibit B and incorporated herein by reference is a true and

   correct copy of a Reprint of Billed Details to Date generated by MHTL’s

   accounting department’s billing software for the period from March 1, 2017

   through February 28, 2018, from which I have redacted names and unrelated

   information and marked with red-line strike out any time spent on matters

   concerning Mr. and Mrs. W and Wallis which are not related to the BSEA

   proceeding or this action. Exhibit B has also been marked to reflect reductions

   for any other reason, such as travel time or a mistaken or duplicate entry.

6. Attached hereto as Exhibit C and incorporated herein by reference are true and

   correct reprints of a number of billing summaries generated by MHTL’s

   accounting department. Similar billing summaries with attached documentation

   have been generated and sent to Lincoln-Sudbury on a regular basis since

   September, 2013, when Mr. and Mrs. W began requesting records from Lincoln-

   Sudbury. They also show the amount of time spent on unrelated Lincoln-Sudbury

   matters and demonstrate that the matters involving the Ws required significantly

   more time and expense. The billing summaries in Exhibit C are included because

   they reflect professional courtesy reductions to the bills sent to Lincoln-Sudbury.

   It includes a professional courtesy discount for this matter in the May, June, July

   2017 bills.




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7. Attached hereto as Exhibit D and incorporated herein by reference is a prebill for

   March 1, 2018 until March 25, 2018 generated by MHTL’s accounting

   department. This amount will be charged to Lincoln-Sudbury at the end of the

   month for attorneys’ fees. It does not reflect work from after March 25, 2018 or

   costs for the month of March. It reflects a discount for 3.8 hours that Attorney

   Ehrens agreed to in her reply to the Opposition to the Motion for Summary

   Judgment for Attorneys’ Fees.

8. MHTL has billed Attorney Ehrens and my time at the rate of $225.00 to $235.00

   per hour throughout the course of the firm’s representation of Lincoln-Sudbury.

   The rate increased to $235.00 per hour for most of our education clients on July 1,

   2017. That rate is consistent with the rates the firm bills other school and

   municipal clients and is justified by our experience, expertise, and skill in special

   education matters and litigation. The rate is also consistent with the hourly rates

   charged by attorneys who practice special education law in this community. See

   also Exhibit 4, Affidavit Of Attorney Mary Ellen Sowyrda in Support of Lincoln-

   Sudbury Regional School District’s Motion for Summary Judgment for

   Attorneys’ Fees,¶9; Exhibit 6, Affidavit of Jeffrey M. Sankey, ¶¶5, 6; Exhibit 5,

   Affidavit Of Michael J. Joyce, Esq. in Support of Lincoln-Sudbury Regional

   School District’s Motion for Summary Judgment for Attorneys’ Fees, ¶¶5-7.

9. Paralegal, Paula Wright (formerly Rivera – PMR on billing documentation) has

   been billed at $110.00 per hour since she started assisting with this case on April

   14, 2016. On July 1, 2017, Paralegal Wright’s rate increased to $115.00 per hour

   for all education clients. Ms. Wright is an experienced litigation paralegal who




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   has been employed by this firm in that capacity since 2003. The rates are

   consistent with the rates the firm bills other clients for her time.

10. For purposes of this motion for fees, I have, with Lincoln-Sudbury’s knowledge

   and consent, reduced Attorney Ehrens’ rate for travel time to $175.00 per hour.

   Lincoln-Sudbury was billed the full rate for this time.

11. Lincoln-Sudbury has paid $47,185.50 in attorneys’ fees to defend itself in the

   BSEA proceeding and in District Court since May 1, 2017 until March 25, 2018

   and paid $825.87 in costs from April 1, 2017 until February 28, 2018.

12. As Attorney Ehrens stated, Lincoln-Sudbury has paid $155,606.00 in attorneys’

   fees until April 30, 2017 and $4,341.74 until March 31, 2017 in costs to defend

   itself in the BSEA proceeding and in District Court.

13. Therefore, the total fees Lincoln-Sudbury incurred and paid for in the BSEA case

   through March 26, 2018 is $202,791.50 and $5,167.61 in costs until February 28,

   2018.

14. Lincoln-Sudbury has continued and will continue to incur fees from March 26,

   2018, until this litigation is over.

15. The number of hours spent on the BSEA case and this litigation is reasonable

   considering the complex nature of special education litigation in general and the

   additional complexities involved in this case in light of the parents’ pro se status,

   their rancor toward Lincoln-Sudbury, its teachers and administrators, the length of

   Mr. and Mrs. W’s filings, and the number of issues and Lincoln-Sudbury staff

   involved. See also Exhibit 2, Affidavit Of Attorney Mary Ellen Sowyrda in

   Support of Lincoln-Sudbury Regional School District’s Motion for Summary




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       Judgment for Attorneys’ Fees,¶¶5-7; Exhibit 4, Affidavit Of Attorney Mary Ellen

       Sowyrda in Support of Lincoln-Sudbury Regional School District’s Motion for

       Summary Judgment for Attorneys’ Fees, ¶¶5-9.

            SIGNED under the pains and penalties of perjury at Quincy, Massachusetts this

29th day of March, 2018.


                                      /s/ Felicia Vasudevan____________
                                      Felicia Vasudevan, Attorney at Law
                                      BBO # 687463




                             CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 29th day of March, 2018, I served a copy of
the foregoing on counsel for defendants/plaintiffs-in-counterclaim on parents John, by
first class mail, postage prepaid.


                                      _/s/ Felicia Vasudevan_______________
                                      Felicia Vasudevan



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